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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                CRIMINAL ACTION

VERSUS                                                                  NO. 14-131

ALFRED COBBINS                                                          SECTION "N" (5)

                                     ORDER AND REASONS

        The defendant, Alfred Cobbins, has filed a motion for free copies of his sentencing transcript

and docket sheet as an indigent in need thereof. (Rec. Doc. No. 723). An indigent defendant has

both a constitutional and a statutory right to a free transcript under certain circumstances. See

United States v. Pulido, 879 F.2d 1255, 1256 (5th Cir. 1989) (citing Britt v. North Carolina, 404

U.S. 226 (1971)); Fisher v. Hargett, 997 F.2d 1095 (5th Cir. 1993); and see 18 U.S.C. §3006A(e)(1).

This right turns on the defendant's ability to establish (1) his indigency, (2) a particular need for the

transcript (3) in connection with a subsequent proceeding, and (4) that no alternative device or

means of support would suffice. See Britt, 404 U.S. at 227.

        In the instant motion, the defendant has failed to provide the court with documentation to

establish his indigency. Instead, the defendant offers only the allegation that he is unable to pay the

cost of the desired transcript and docket sheet. Until such time as he can establish this status, his

request must be denied.

        In addition, the defendant has failed to establish any particularized need for the transcript,
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in particular. Specifically, the defendant has failed to set forth (1) the particular grounds for any

post-conviction relief which he intends to seek in the future, or (2) how the requested transcript will

support those grounds for relief. Because of this, the Court us unable to determine whether an

alternative source exists to satisfy his needs. Transcript copies are not to be freely provided to

support “fishing expeditions” to seek out possible errors in the proceedings. United States v.

Watson, 61 Fed. Appx. 919, 2003 WL 1109766 (5th Cir. Feb. 19, 2003) (citing Jackson v. Estelle,

672 F.2d 505, 506 (5th Cir. 1982)).

       Accordingly, IT IS ORDERED that:

       (1) The defendant provide the Court on or before Wednesday, August 9, 2017, with a

completed pauper application, certified by the prison, detailing his present financial status. The

Clerk of Court is DIRECTED to forward a pauper application to the defendant along with a copy

of this Order.

       (2) The defendant provide the Court on or before Wednesday, August 9, 2017, with a more

detailed summary of the grounds for relief he plans to assert in a post-conviction proceeding, and

how the requested transcript and docket sheet is relevant to that proceeding.

       (3) FAILURE TO COMPLY WITH THIS ORDER WILL RESULT IN THE DENIAL

OF THE MOTION.

       New Orleans, Louisiana, this 7th day of July 2017.



                                               ____________________________________
                                               KURT D. ENGELHARDT
                                               UNITED STATES DISTRICT JUDGE




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